Case 2:04-cr-20313-SH|\/| Document 87 Filed 08/22/05 Page 1 of 2 Page|D 127

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UNITED sTATES oF AMERICA, WFDGF !P\:\F-*#+_~AMIS
Plaintiff,
vs. CR. NO. 04-20313-Ma

WILLIAM WOODS,

`,~.~,`.,`,`,`J~_,~.._,

Defendant.

 

ORDER ON CONTINUINCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause camel on for' a report date on July 22, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning September 6, 2005 at 9:30 a.m., with a
report date of Friday, August 26, 2005 at 2:00 p.m.

The period from July 22, 2005 through September 16, 2005 is
excludable under 18 U.S.C. § 316l(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

:l:'r rs so onDERED this 'n°‘( day of August, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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UNITED TEATS DISTRIC COURT - WESTER D"RITICT o TENNESSEE

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Honorable Samuel Mays
US DISTRICT COURT

